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     UNITED STATES DISTRICT COURT
 ------------------DISTRICT OF MARYLAND------------------

UNITED STATES OF AMERICA                          *

       v.                                         *     Case No.: PJM-09-588

LAMONT LUTHER JOHNSON                             *


                                LINE OF APPEARANCE
To the Clerk of the Court and all parties of record:

        Please enter my appearance as counsel in the case for Lamont Luther Johnson. I certify
that I am admitted to practice in this Court.



                                              JAMES WYDA
                                              Federal Public Defender


February 20, 2018
                                                          /s/
                                              JULIE L.B. STELZIG, (#27746)
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